UNITED STATES OF AMER!CA ‘J "

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

 
  
  

 

Case No. I:05cr10026-001T

MARK MCCURRY

 

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(3)

ORDER SETT|NG
COND|TIONS OF RELEASE

IT lS ORDERED that the release of the defendant is subject to the following conditions and provisions:

The defendant shall not commit any offense in violation offederal, state or local law while on release in this
CBS€.

The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom Courtroom # on Day, Date, at Time.

ADD|TIONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the

coininunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

Execute a bond in the amount 0f$l(),000 or an agreement to forfeit upon failure to appear as rcquired, and
post with the following amount of money to be deposited into the registry of the Court: $1,000.

report as directed by the Pretriai Services Office.

Refrain from any use or unlawful possession ofa narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
fonn of prohibited substance screening or testing.

Restricted in travel and residence to Western District of Tennessee.

AO tQBA Order Setting Conditions of Re|ease ‘ l '

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0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation ofany ofthe foregoing conditions ofrelease may result in the immediate issuance ofa warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a tenn
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. Tliis sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,(}()0 fine or both to
obstruct a criminal investigationl lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or inforrnant; to retaliate or attempt to retaliate against a witness, victim or
inforrnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than 3250,()00 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term offive years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a inisdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense ln addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGN|ENT OF DEFENDANT

l acknowledge that l ain the defendant in this case and that I am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. l am aware

of the penalties and sanctions set forth above.
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Signatuie owefendant

Mark McCurry

31 l Arrowhead
Jackson, TN 38301
731-427-4501

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DlRECTlONS TO THE UN|TED STATES MARSHAL

l] The defendant is ORDERED released after processing

l:l The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
l udicial Officer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10026 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

J ames W. Powell

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Honorable J ames Todd
US DISTRICT COURT

